Case 1:25-cv-00339-JDB Document 44-1 Filed 02/19/25 Pagelofs8

EXHIBIT 1
Case 1:25-cv-00339-JDB Document 44-1 Filed 02/19/25 Page2of8

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

AFL-CIO, et al.,
Plaintiffs,
VS. Case No. 1:25-cv-00339-JDB
Department of Labor, et al.,

Defendants.

DECLARATION OF ERIE MEYER
I, Erie Meyer, declare as follows,

1. I served as the Chief Technologist and Senior Advisor to the Director at the Consumer
Financial Protection Bureau from October 2021 until February 7, 2025, when I resigned.
Prior to my most recent position, I served as a founding member of the Technology and
Innovation Unit at the Bureau from March 2011 to September 2018. Based on that work,
I have personal knowledge of numerous aspects of the Bureau’s work, including the
Bureau’s technology systems and protocols for systems access.

2. In my role at CFPB, I had access to several systems at the CFPB. For each system, I had
a business need that justified my access and the appropriate controls were also in place.
Those systems included selected case files related to market monitoring orders, consumer
complaints, and others. Access meant that I was able to independently log into those
systems and examine records stored on them.

3. For each system, I typically had to document my request for access, and have that request
approved by my supervisor of record. In situations where those databases would include

certain sensitive information, there was specific training on how to handle the sensitive
Case 1:25-cv-00339-JDB Document 44-1 Filed 02/19/25 Page 3of8

records to which I was provided access. For example, Controlled Unclassified
Information (CUI) or Personally Identifiable Information had specific protocols and
protections in place.

. [have reviewed the legal filings in this matter, including the declaration of Adam
Martinez, ECF No. 31-3, concerning access by DOGE staff to CFPB’s systems.

Some of the facts attested to in the Martinez Declaration or argued by the government are
incomplete with regards to relevant issues in this case, and do not fully capture my
experience at the Bureau.

. First, the Martinez Declaration acknowledges that the White House has ordered agencies
such as CFPB to grant DOGE “full access to all unclassified agency records and software
and IT systems.” ECF No. 31-3 { 3.

. The CFPB has maintained 30 systems of record. Access to each system ordinarily
requires an employee to have a true need to know for their CFPB roles to be able to log
into each one. These systems serve a wide variety of purposes—from managing internal
human resources, to collecting and publishing anonymized consumer complaint data, to
maintaining the CFPB’s IT infrastructure, to storing sensitive enforcement information
collected in the course of the CFPB’s enforcement and supervision actions.

. To the best of my knowledge, no employee, contractor, or detailee at the CFPB has ever
before been granted blanket access to all unclassified systems maintained by the Bureau.
I served as the Bureau’s Chief Technologist and Senior Advisor to the Director, and
worked extensively on matters related to enforcement and supervision. I am not aware of
any role at the CFPB that would have a stronger justification for universal systems access

than mine, but even I was not granted, nor did I seek, such access.
Case 1:25-cv-00339-JDB Document 44-1 Filed 02/19/25 Page4of8

9. Universal access to all unclassified systems at the CFPB is not compatible with the
carefully-controlled, segmented access to sensitive data that was core to CFPB’s
approach during my time at the Bureau. It is difficult to imagine any CFPB employee
who could have a true “need to know” that would justify access to every system within
the Bureau. Based on my understanding of DOGE’s mission, as described in the
Executive Order establishing DOGE and Defendants’ representations in this matter, it
seems unlikely that DOGE employees have a true “need” for such broad access. The act
of granting any employee access to all unclassified systems at the CFPB represents an
unprecedented and very substantial change to Bureau policies.

10. Second, the Martinez Declaration implies that DOGE employees were provided all
necessary training for systems access. See ECF No. 31-3 { 6 (“All six detailees . . . were
provided privacy and cyber training as a prerequisite to receiving a laptop and equipment
... The CFPB Management followed all established procedures to provision equipment
and provide access to the detailees.”).

11. These representations are difficult to reconcile with public reporting about DOGE staff’s
access to CFPB systems and my experiences undergoing training for CFPB systems
access.

12. DOGE entered CFPB for the first time on February 7,! and Acting Director Vought
emailed CFPB staff that day to inform them that DOGE personnel were authorized to

“begin work on all unclassified CFPB systems.””

' Bobby Allen et al., Musk’s team takes control of key systems at Consumer Financial
Protection Bureau, NPR (Feb. 7, 2025), https://www.npr.org/2025/02/07/g-s1-47322/musks-
team-takes-control-of-key-systems-at-consumer-financial-protection-bureau.

* Holly Otterbein and Megan Messerly, Vought takes helm at CFPB after Musk incursion,

3
Case 1:25-cv-00339-JDB Document 44-1 Filed 02/19/25 Page5of8

13. The Martinez Declaration states only that DOGE staff were provided privacy and cyber
training, but those trainings alone, assuming they were completed, would not be
sufficient under CFPB policies to grant the degree of access authorized by the Acting
Director.

14. For example, the Martinez Declaration makes no mention of DOGE employees
undergoing ethics training, which is required for all agency employees before they are
authorized to begin work at the Bureau.

15. Additionally, the Martinez Declaration makes no mention of DOGE employees
undergoing a background investigation, while CFPB’s Personnel Security Policy states
that “all persons employed by or seeking employment with the CFPB, or those who
perform work for or on behalf of the CFPB (for example, contractors), are required to
undergo an initial background investigation[.]”?

16. Further, in my experience, each system with particularly sensitive data at CFPB typically
comes with its own training prior to granting access to any employee. These trainings
provide employees specific instructions on things like how to access a system, safeguards
in place to ensure integrity of system data, authorized routine uses of records stored in the
system, and any other legal or ethical rules governing or guiding access to those systems.
Typically, these trainings each last up to an hour; some may be completed via on-demand

webinar, but others are conducted live with an instructor.

POLITICO (Feb. 8, 2025), https://www.politico.com/news/2025/02/08/vought-takes-helm-at-
cfpb-after-musk-incursion-00203247.

3 CFPB Office of the Inspector General, 2024-IT-C-019, 2024 Audit of the CFPB’s Information
Security Program at 16 (Oct. 31, 2024), https://oig.federalreserve.gov/reports/cfpb-information-
security-program-oct2024.pdf.
17.

18.

19.

20.

21.

22.

Case 1:25-cv-00339-JDB Document 44-1 Filed 02/19/25 Page6éofs8

Access to CFPB enforcement systems is particularly sensitive and requires training on
how the Bureau manages confidential investigatory information. These are among the
most competitively-sensitive records stored at the CFPB, containing information
collected by the Bureau in its investigations. Because these records are so sensitive, direct
access is not granted to CFPB employees outside of the Bureau’s enforcement functions,
and training and onboarding processes for enforcement staff can take place over multiple
days.

Finally, the Martinez Declaration makes no representations about DOGE employees’
compliance with the CFPB’s ethical requirements, except inasmuch as it represents that
“the six detailees are required to abide by all applicable federal rules and regulations
regarding data privacy and other topics.” ECF No. 31-3 4 10.

To my knowledge, all CFPB employees are required to comply with the Bureau’s
Supplemental Standards of Ethical Conduct, codified at 5 C.F.R. Part 9401.

Those standards prohibit CFPB employees, spouses, or minor children from owning or
controlling securities in certain prohibited entities. See 5 C.F.R. § 9401.106(a).

The list of prohibited entities is updated annually by the Bureau, and includes all
financial institutions under CFPB supervision, as well as additional entities, including
non-financial institutions and technology companies, that could create the appearance of
a conflict of interest between CFPB staff’s professional responsibilities and their personal
financial interests.

All CFPB employees are required to review the prohibited holdings list and its periodic

updates and divest ownership interests in any holding on the list.
Case 1:25-cv-00339-JDB Document 44-1 Filed 02/19/25 Page7of8

23. To the best of my knowledge, the list of prohibited entities currently includes Tesla, Inc.,
the auto manufacturer owned by Elon Musk.*

24. While I am not aware of all of the DOGE employees detailed to CFPB, public reporting
has identified multiple DOGE staff as being current or former employees of Tesla.°

25. CFPB employees’ ethical standards also require disclosure and divestment from other
financial interests, beyond those detailed on the prohibited entities list, that could give an
appearance of a conflict of interest.

26. Because another of Mr. Musk’s companies, X, has publicly announced plans to enter the
consumer finance market, it may be subject to CFPB’s regulatory authority, and financial
holdings in X would trigger CFPB employees’ ethical obligations.°

27. Public reporting has also identified multiple DOGE staff as being current or former
employees of X.’

28. The Martinez Declaration does not address whether DOGE employees have complied
with the Bureau’s Standards of Ethical Conduct and Financial Disclosure requirements,
and that is a conspicuous omission to me, given that multiple DOGE employees may hold
securities or other financial interests in multiple entities triggering disclosure and
divestment pursuant to CFPB’s ethical standards.

29. Given the known timeline of DOGE’s entry to CFPB and their access to the Bureau’s

systems, it is not credible to me that, prior to gaining access, DOGE employees could

4 Matt Egan, Elon Musk is waging war on a key check on his business empire, CNN (Feb. 11,
2025), https://edition.cnn.com/2025/02/1 1/business/elon-musk-cfpb/index.html.

> Avi Asher-Schapiro et al., Elon Musk’s Demolition Crew, ProPublica (Feb. 6, 2025),
https://projects.propublica.org/elon-musk-doge-tracker/.

® See Bobby Allyn, Elon Musk's DOGE takes aim at agency that had plans of regulating X, NPR
(Feb. 12, 2025) https://www.npr.org/2025/02/12/nx-s1-5293382/x-elon-musk-doge-cfpb.

7 Asher-Schapiro, supra n. 4.
Case 1:25-cv-00339-JDB Document 44-1 Filed 02/19/25 Page 8of8

have completed ethics review, a background investigation, or received federal records
and other training that is required for the sort of first-ever universal access that they have
been granted. While I respect and worked alongside Mr. Martinez for several years, the
statement that “All accesses to CFPB internal systems were authorized by the Chief
Information Officer pursuant to CFPB processes and procedures,” ECF No. 31-3 4 9, is
not plausible based on my experiences and knowledge of the CFPB.

30. I am over eighteen years old, of sound mind, and submit this declaration of my own
account, not subject to any duress, fraud, or undue influence. Pursuant to 28 § 1746, I
declare under penalty of perjury under the laws of the United States that the foregoing

declaration is true and correct to the best of my knowledge, information, and belief.

Executed in Washington, D.C. on February 19, 2025.

/s/ Erie Meyer

Erie Meyer
